        Case 3:14-cv-02346-JCS Document 25 Filed 07/18/14 Page 1 of 3



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14   UNITED HEALTHCARE INSURANCE COMPANY
     and UNITED BEHAVIORAL HEALTH
15
                                 UNITED STATES DISTRICT COURT
16                              NORTHERN DISTRICT OF CALIFORNIA
17                                  SAN FRANCISCO DIVISION

18   DAVID AND NATASHA WIT, on behalf               Case No. 3:14-CV-02346-JCS
     of themselves and all others similarly
19   situated, and BRIAN MUIR, on his own           DECLARATION OF GERARD
     behalf and on behalf of all others similarly   NIEWENHOUS IN SUPPORT OF
20   situated,                                      MOTION OF DEFENDANTS UNITED
                                                    HEALTHCARE INSURANCE COMPANY
21                      Plaintiff,                  AND UNITED BEHAVIORAL HEALTH’S
                                                    MOTIONS TO TRANSFER VENUE
22          v.                                      UNDER 28 U.S.C. § 1404(a)

23   UNITED HEALTHCARE INSURANCE                    Date:               September 26, 2014
     COMPANY and UNITED BEHAVIORAL                  Time:               2:00 P.M.
24   HEALTH (operating as OPTUMHEALTH               Judge:              Hon. Joseph Spero
     BEHAVIORAL SOLUTIONS),                         Courtroom:          G
25
                        Defendant.                  Action Filed:       May 21, 2014
26

27
                                                            DECL. OF NIEWENHOUS ISO DEFENDANTS’ MOT.
28                                                         TO TRANSFER VENUE; CASE NO. 3:14-CV-02346-JCS
          Case 3:14-cv-02346-JCS Document 25 Filed 07/18/14 Page 2 of 3




 1   I, Gerard Niewenhous, MSW, ACSW, declare and state as follows:

 2           1.     I am employed by United Behavioral Health (“UBH”), and have worked at UBH

 3   since 2003. I am the Senior Director of Clinical Policy and Standards for UBH and the Vice-

 4   Chair and Committee Coordinator of the Behavioral Policy and Analytics Committee (“BPAC”).

 5   I have personal knowledge of the facts stated herein, and if called as a witness, could and would

 6   testify competently thereto.

 7           2.     In my capacity as Senior Director of Clinical Policy and Standards for UBH and as

 8   the Vice-Chair and Committee Coordinator of the BPAC, I am responsible for overseeing and

 9   administering the development and maintenance of the standards used for administering

10   behavioral health benefits, including what are known as Level of Care Guidelines (“LOCs”) and

11   Coverage Determination Guidelines (“CDGs”). I am also involved in plan-by-plan mental health

12   parity analysis. I am the head of the team responsible for the development of all of the LOCs and

13   CDGs that UBH has promulgated since 2003, and work with one other staff member, Loretta

14   Urban. I work in UBH’s Eden Prairie, Minnesota offices. Ms. Urban works remotely in Florida.

15           3.     I have reviewed the “Class Action Complaint” filed on May 21, 2014 by David

16   and Natasha Wit and Brian Muir against United HealthCare Insurance Company and UBH (the

17   “Complaint”) and I am familiar with the LOCs and CDGs that are specifically identified in it. I

18   was responsible for the development, approval and finalization of all of the LOCs and CDGs

19   specifically identified in the Complaint that deal with mental health and/or substance use

20   disorders (see, e.g., Paragraphs 10-17, 19-22, 26, 34, 36-38, 40, 53-63, and 81-83). The UBH

21   personnel who were responsible for developing those LOCs and CDGs are located outside of

22   California. It is my understanding that the guideline referenced in Paragraph 23 of the Complaint

23   is used to manage medical/surgical benefits, but it is not used by UBH to manage mental health or

24   substance use disorder benefits.

25   //

26   //

27   //
                                                               DECL. OF NIEWENHOUS ISO DEFENDANTS’ MOT.
28                                                  -1-       TO TRANSFER VENUE; CASE NO. 3:14-CV-02346-JCS
Case 3:14-cv-02346-JCS Document 25 Filed 07/18/14 Page 3 of 3
